             Case 1-16-41231-cec         Doc 17     Filed 07/14/16     Entered 07/15/16 00:17:45

                                      United States Bankruptcy Court
                                      Eastern District of New York
In re:                                                                                 Case No. 16-41231-cec
Anthony Vasquez                                                                        Chapter 7
Roseann Vasquez
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0207-1          User: frandazzo              Page 1 of 2                   Date Rcvd: Jul 12, 2016
                              Form ID: 318DF7              Total Noticed: 33


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 14, 2016.
db/jdb         +Anthony Vasquez,    Roseann Vasquez,    92 Wenlock Street,   Staten Island, NY 10303-2649
smg             NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
8768212        +Cap1/bstby,   P O Box 9001007,    Louisville, KY 40290-1007
8768213        +Cecolia Ramsingh,    329 Union Ave,    Staten Island, NY 10303-2470
8768216        +Corash & Hollender, PC,    1200 South Ave,    Staten Island, NY 10314-3424
8776433         Federal National Mortgage Association,     ("Fannie Mae"),c/o Seterus, Inc.,
                 c/o Rosicki, Rosicki & Associates, P.C.,     Main Office: 51 E. Bethpage Road,
                 Plainview, NY 11803
8768220        +Gm Financial Leasing,    75 Remittance Drive,    Chicago, IL 60675-1001
8768222       ++NATIONSTAR MORTGAGE LLC,    PO BOX 619096,    DALLAS TX 75261-9096
               (address filed with court: Nationstar Mortgage Ll,      350 Highland Dr,    Lewisville, TX 75067)
8768226        +NYc Department Of Finance,    P O BOX 680,    nEWARK, NJ 07101-0680
8780700        +New York City Dept. of Finance,     Office of Legal Affairs - Collection Uni,
                 345 Adams St. 3rd Floor,    Brooklyn, NY 11201-3719
8768223        +New York Methodist Hospital,    P O Box 5792,    New York, NY 10087-5792
8768224        +Nissan Motor Acceptanc,    Po Box 9001133,    Louisville, KY 40290-1133
8768225        +Nissan-infiniti Lt,    P.o. Box 660360,    Dallas, TX 75266-0360
8768227        +Park Slope Emergency Physician Services,     P O Box 5464,   New York, NY 10087-5464
8768229        +Seaview Anesthesia Group,    P O BOX 5807,    NEW YORK, NY 10087-5807
8768230        +Seterus Inc,   8501 Ibm Dr, Bldg 201, 2dd188,     Charlotte, NC 28262-4333
8768231        +Staten Island University Hospital,     P O Box 29772,   New York, NY 10087-9772

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jul 12 2016 18:14:15
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Jul 12 2016 18:13:55
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,      New York, NY 10014-9449
8768211         EDI: BANKAMER.COM Jul 12 2016 18:13:00      Bk Of Amer,    Po Box 982238,    El Paso, TX 79998
8768214        +EDI: CHASE.COM Jul 12 2016 18:13:00      Chase Card,    Po Box 15298,    Wilmington, DE 19850-5298
8768215        +EDI: WFNNB.COM Jul 12 2016 18:13:00      Comenity Total Rewards,     P O Box 659584,
                 San Antonio, TX 78265-9584
8768217        +EDI: DISCOVER.COM Jul 12 2016 18:13:00      Discover Fin Svcs Llc,     Po Box 15316,
                 Wilmington, DE 19850-5316
8768218         EDI: WFFC.COM Jul 12 2016 18:13:00      Furniturebar,    Cscl Dispute Team,
                 Des Moines, IA 50306
8768219        +EDI: PHINAMERI.COM Jul 12 2016 18:13:00      Gm Financial,    Po Box 181145,
                 Arlington, TX 76096-1145
8768221        +EDI: CBSKOHLS.COM Jul 12 2016 18:13:00      Kohls/capone,    N56 W 17000 Ridgewood Dr,
                 Menomonee Falls, WI 53051-7096
8768228        +EDI: SEARS.COM Jul 12 2016 18:13:00      Sears/cbna,    Po Box 6189,    Sioux Falls, SD 57117-6189
8768232        +EDI: RMSC.COM Jul 12 2016 18:13:00      Syncb/jcp,    Po Box 965007,    Orlando, FL 32896-5007
8768233        +EDI: RMSC.COM Jul 12 2016 18:13:00      Syncb/lowes,    Po Box 965005,    Orlando, FL 32896-5005
8768235        +EDI: RMSC.COM Jul 12 2016 18:13:00      Syncb/pc Richard,    Po Box 965036,
                 Orlando, FL 32896-5036
8768234        +EDI: RMSC.COM Jul 12 2016 18:13:00      Syncb/pc Richard,    C/o Po Box 965036,
                 Orlando, FL 32896-0001
8768236         EDI: USBANKARS.COM Jul 12 2016 18:13:00      Us Bk Rms Cc,    200 Gibraltar Rd Ste 200,
                 Horsham, PA 19044
                                                                                               TOTAL: 15

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                         TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).
                 Case 1-16-41231-cec              Doc 17        Filed 07/14/16          Entered 07/15/16 00:17:45




District/off: 0207-1                  User: frandazzo                    Page 2 of 2                          Date Rcvd: Jul 12, 2016
                                      Form ID: 318DF7                    Total Noticed: 33


              ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jul 14, 2016                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 12, 2016 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;ahollander@windelsmarx.com;n159@ecfcbis.com;jryan@windelsmarx.com
              Andrew David Goldberg   on behalf of Creditor   Federal National Mortgage Association ("Fannie
               Mae"), creditor c/o Seterus, Inc. Bkmail@rosicki.com, ECFNotice@Rosicki.com
              Kevin B Zazzera   on behalf of Joint Debtor Roseann Vasquez kzazz007@yahoo.com
              Kevin B Zazzera   on behalf of Debtor Anthony Vasquez kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 5
              Case 1-16-41231-cec                      Doc 17   Filed 07/14/16     Entered 07/15/16 00:17:45


Information to identify the case:
Debtor 1              Anthony Vasquez                                            Social Security number or ITIN   xxx−xx−3437
                      First Name   Middle Name    Last Name                      EIN _ _−_ _ _ _ _ _ _
Debtor 2              Roseann Vasquez                                            Social Security number or ITIN   xxx−xx−2671
(Spouse, if filing)
                      First Name   Middle Name    Last Name                      EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York
271−C Cadman Plaza East, Suite 1595
Brooklyn, NY 11201−1800
Case number:           1−16−41231−cec                                            Chapter:    7



Order of Discharge and Final Decree                                                                                Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Anthony Vasquez                                              Roseann Vasquez




IT IS FURTHER ORDERED:

        • Alan Nisselson (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: July 12, 2016                                                 s/ Carla E. Craig
                                                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




Official Form 318DF7                             Chapter 7 Order of Discharge and Final Decree                page 1
          Case 1-16-41231-cec          Doc 17     Filed 07/14/16       Entered 07/15/16 00:17:45


                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

Official Form 318DF7             Chapter 7 Order of Discharge and Final Decree                 page 2
